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 3   Fresno, California 93721
     Telephone: (209) 237-6000
 4
     Attorney of Defendant, GREG MELLO
 5
 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,            )       CASE: 04-5356 AWI
10                                        )
            Plaintiff,                    )
11                                        )       STIPULATION AND ORDER
     v.                                   )       TO CONTINUE SENTENCING
12                                        )
                                          )
13   GREG MELLO,                          )
                                          )
14          Defendant.                    )
                                          )
15                                        )
16          The parties hereto, by and through their respective attorneys, stipulate and
17   agree that the sentencing scheduled for July 17, 2006, be continued until July 31,
18   2006 at a.m. in the above-entitled court.
19          Any Formal Objections to be filed on behalf of defendant must be submitted
20   to the court by July 10, 2006. Government’s opposition to defendant’s formal
21   objections must be submitted to the court by July 14, 2006.
22          This continuance is needed to accommodate the vacation schedules of
23   counsel while permitting each attorney sufficient time to appropriately address
24   legal and factual issues pertaining to Mr. Mello’s sentencing.
25
26   DATED: June 15, 2006                 /s/ Marlon Cobar
                                          MARLON COBAR
27                                        Assistant United States Attorney
                                          This was agreed to by Mr. Cobar
28                                        via telephone, on June 15, 2006

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 1
     DATED: June 15, 2006              /s/ Roger K. Litman
 2                                     ROGER K. LITMAN
                                       Attorney for Defendant
 3                                     GREG MELLO
 4
 5
 6                                      ORDER
 7
     IT IS SO ORDERED.
 8
     Dated:   June 16, 2006                 /s/ Anthony W. Ishii
 9   0m8i78                           UNITED STATES DISTRICT JUDGE
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